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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF OREGON
                               PENDLETON     DIVISION




CARROLL PALMER,                            Case No.: 2:19-cv-297


             Plaintiff,
                                           COMPLAINT

-VS-
                                           Personal Injury Action
                                           (28 U.S.C.§1332(a)(1))
JEREMY RIFFE, an individual,
and NAVAJO EXPRESS, INC., a                DEMAND FOR JURY TRIAL
Colorado Corporation,

             Defendants.




       Plaintiff alleges as follows:

                                        1.


       At all material times Plaintiff has been and is a resident

and a citizen of the state of Oregon.

                                        2.


       At   all    material   times   Defendant    Jeremy    Riffe    ("Defendant

Riffe") has been and is a resident and a citizen of the state of

Colorado.




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                                           3.


      Defendant Navajo Express, Inc., ("Defendant Navajo") is a
Colorado corporation with its principal place of business in
Denver, Colorado.           Defendant is a federally authorized motor

carrier operating in interstate commerce including the state of
Oregon.

                                           4.


      This Court has jurisdiction over the subject matter of this

action pursuant to 28 USC §1332(a)(1).                         The parties to this
action    are   citizens        of   different        states     and    the   amount     in

controversy exceeds the sum of $75,000.

                                           5.


      At all material times. Defendant Riffe was an employee of

Defendant    Navajo    and      acted     in    the    course     and    scope    of    his

employment and pursuant to Defendant Navajo's federal operating

authority.

                                           6.


      Highway    20   is    a    public    highway        open    for    general      motor

vehicle use, extending in a generally east-west direction in the

State of Oregon.           In Malheur County, Highway 20 generally has

two (2) adjacent lanes, separated by a yellow centerline.                             It is

an "open range" area as indicated by signage along the roadway,

and the speed limits for trucks is clearly marked as 60 miles

per hour.

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                                     7.


     On or about April 1, 2017, Plaintiff was driving an all-

terrain vehicle ("ATV") along the westbound lane of Highway 20.

Plaintiff's companion, Cathie Howell, was driving a second ATV

directly behind Plaintiff.         Defendant Riffe was driving a 2014

Kenworth semi-tractor trailer for Defendant Navajo westbound on

Highway 20 behind Plaintiff.          Plaintiff was traveling a safe
rate of speed and slowing to turn left, while Defendant came

upon the Plaintiff with his cruise control set in excess of the

speed limit, and operating at a speed in excess of the posted

speed limit.

                                     8.


     Plaintiff and Howell both stuck their left arms out to the

left to signal their intent to turn left across the highway.
Defendant Riffe came over a hill some distance behind Plaintiff.

As Plaintiff began to turn left. Defendant Riffe directed his
speeding truck into the left lane, where he struck the left
front corner of Plaintiff's turning ATV.            Within seconds before

the impact. Defendant Riffe was still traveling at speeds in
excess of the posted limit and with cruise control on.

                                     9.


     The collision     was severe, causing        Plaintiff to be thrown

off of his ATV.      Defendant Riffe then lost control of the semi-

tractor   trailer,   it   rolled   onto   the   driver's     side,   and   slid,

coming to a stop several hundred feet down the highway, blocking

both lanes of traffic.




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                                              10.


      As    a    result     of   the    collision.        Plaintiff     suffered       nine

broken ribs, left lung collapse, left scapular fracture, left

clavicle        fracture,    subarachnoid           hemorrhage,       traumatic       brain

injury, multiple fractures to the thoracic spine, left brachial
plexus injury, and respiratory failure. Plaintiff has permanent

injury including impaired mobility and functional activities,
traumatic         brain     injury,           multicompartmental         intracerebral

hemorrhage, and impaired cognition.

                             First Claim for Relief
                                       (Negligence)

                                              11.


      Plaintiff incorporates paragraphs 1 through 10 as if fully

set out herein.


                                              12.


      At the time of the collision. Defendant Riffe was negligent

in one or more of the following particulars:

      (a)         In   passing      Plaintiff        in    an   unsafe        manner     in

                  violation of ORS 811.410;

      (b)         In failing to maintain a proper lookout;

      (c)         In driving carelessly in violation of ORS 811.135;

      (d)         In      driving       at      speeds     excessive          under     the

                  circumstances         and    exceeding     the      speed    limit     in

                  violation of ORS 811.100;

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                                        13.


      As     a   direct     and    foreseeable     result       of   Defendant's

negligence. Plaintiff has incurred approximately $570,631.71 in
medical expenses to date.          He is still treating his injuries and

will incur future medical expenses to be determined at trial.

                                        14.


      As     a   direct     and    foreseeable     result       of   Defendant's

negligence. Plaintiff incurred loss of income in the amount of
$110,000, and loss of future earning capacity to be determined

at trial but estimated to be $525,000.

                                        15.


        As   a   direct     and    foreseeable     result       of   Defendant's

negligence. Plaintiff now requires in-home attendant care of a
value estimated to be $139,780 over the remaining years of his

life.

                                        16.


        As   a   direct     and    foreseeable     result       of   Defendant's

negligence. Plaintiff has suffered pain, interference with his
regular      activities,    emotional    distress,    significant       cognitive

impairment,      and      loss    of   enjoyment     of   life.      Plaintiff's

noneconomic damages are to be determined at trial by the jury

but are alleged to be $1,100,000.

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                              SECOND CLAIM FOR RELIEF
                               (Employer Liability)

                                         17.


     Plaintiff incorporates paragraphs 1 through 16 as if fully

set out herein.


                                         18.


    At     the    time   of    the   collision       described        above,    Defendant

Riffe was acting under the direction and control of Defendant

Navajo and within the scope of his employment.

                                         19.


    As      Defendant         Riffe's    employer.         Defendant           Navajo   is

vicariously liable for Defendant Riffe's negligent acts.

                                         20.


     Plaintiff demands a jury trial pursuant to FRCP 38.

     WHEREFORE Plaintiff prays for relief against Defendants as

follows:


     (a)    For Plaintiff's past medical expenses in the amount of

$570,631.71;

     (b)    For Plaintiff's future medical expenses in an amount

to be determined at trial;

     (c)    For     other       economic       damages       in       the      amount   of

$769,780.00;

     (d)    For non-economic damages in the amount of $1,100,000;

     (e)    For    Plaintiff's       costs     and    disbursements         incurred    in

the prosecution of this matter; and.




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    (f)   For such other and further relief as the Court deems

just and equitable.^
     Dated this      day of February, 2019.

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